EXHIBIT V
                                                  CHIEF CIVIL JUDGE MICHAEL SCOTT
 1                                                HEARING DATE: SEPTEMBER 20, 2024
                                                         WITHOUT ORAL ARGUMENT
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 7
                     IN THE SUPERIOR COURT OF WASHINGTON
 8                       IN AND FOR THE COUNTY OF KING
 9
     FIRST FED BANK, a Washington state
10   commercial bank                              No. 24-2-12567-1 SEA

11                      Plaintiff,
                                                  MOTION TO CONSOLIDATE FIRST
12            v.                                  FED BANK CASES
13
     FOUNDERS MOSAIC PARTNERS, LLC, a             No. 24-2-20247-1 SEA
14   Indiana limited liability company; and       No. 24-2-19871-7 SEA
     TYLER SADEK and NATALIE SADEK
15
                        Defendant.
16
     ___________________________________
17
     FOUNDERS MOSAIC PARTNERS, LLC, a
18   Indiana limited liability company; and
19   TYLER SADEK and NATALIE SADEK

20                     Counterclaim Plaintiffs,

21          v.
22   FIRST FED BANK, FIRST NORTHWEST
     BANCORP, NORMAN TONINA, CRAIG
23   CURTIS, JENNIFER ZACCARDO, CINDY
24   FINNIE, DANA BEHAR, MATTHEW
     DEINES, SHERILYN ANDERSON,
25



     MOTION TO CONSOLIDATE
     FIRST FED CASES – 1
     GABRIEL GALANDA, LYNN
 1   TERWOERDS, JOHN DOES 1-10
 2
                           Counterclaim Defendants.
 3
                                           RELIEF REQUESTED
 4
            Founders Mosaic Partners, LLC, Tyler Sadek, and Natalie Sadek, by and through their
 5
     undersigned counsel, Michael Rhodes and Tarek E. Mercho, Pro Hac Vice, and Pacific Water
 6
     Technology, LLC, Kwansoo Lee, DDS, PLLC, and Kwansoo Lee, by and through counsel,
 7
     John Bender, and Indiana Water Technology, LLC, BLC Water Company, COLEWSTECH,
 8
     LLC, RCWSTECH 1157, LLC, Royal Reservoirs, LLC, Chaurishi Retail Enterprises, LLC,
 9
     Brian Chu, Larina Chu, David Schroeder, Sarah Schroeder, Ron Cole, Karen Lavin, and
10
     Basant Kumar, by and through their undersigned counsel, John T. Bender of Corr Cronin
11
     LLP, (collectively, “Plaintiffs”), move to consolidate the separate lawsuits now pending in
12
     King County Superior Court (collectively the “Parallel Lawsuits”):
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                  1. BLC Water Company, LLC, et.al v. First Fed Bank, et. al., King County Superior
14
                      Court Case Number 24-2-19871-7, filed September 6, 2024 (“BLC lawsuit”);
15
                  2. Instant Case: First Fed Bank v. Founders Mosaic Partners, LLC, Tyler Sadek,
16
                      and Natalie Sadek, King County Superior Court Case Number 24-2-12567-1,
17
                      filed June 5, 2024 (“Sadek lawsuit”); and
18
                  3. First Fed Bank v. Pacific Water Technology, LLC, Kwansoo Lee, DDS, PLLC,
19
                      and Kwansoo Lee, King County Superior Court Case Number 24-2-20247-1,
20
                      filed September 3, 2024 (“Kwansoo lawsuit”)1; and
21
                  4. BLC Water Company, LLC, et.al v. First Fed Bank, et. al., King County Superior
22
                      Court Case Number 24-2-19871-7, filed September 6, 2024 (“BLC lawsuit”);
23
24
25          1
                Exhibits 1-3, attached to the Declaraiton of Michael K. Rhodes.



     MOTION TO CONSOLIDATE
     FIRST FED CASES – 2
 1          The Parallel lawsuits stem from the same unlawful conduct by the Counterclaim

 2   Defendants and its officers. The lawsuits involve common facts, common loan

 3   products/offerings from First Fed, common real property assets that are the subject matter of

 4   the instant litigation and assert overlapping claims for relief. Most importantly, the

 5   Counterclaim Plaintiffs in this lawsuit have similar interest in the assets of the Ponzi scheme

 6   perpetrator(s), and will, necessarily, look to such common assets to recoup their individual

 7   losses as applicable.2

 8          If this case proceeds as a separate lawsuit, it will put the Counterclaim Plaintiff and

 9   Counterclaim Defendants at risk of incurring separate or even conflicting legal and factual

10   outcomes as well as inconsistent relief—including an inequitable allocation of a finite pool of

11   assets—and continue to occupy a disproportionate amount of the Court’s resources.

12   Counterclaim Plaintiffs respectfully submit that consolidation of the Parallel Lawsuits into this

13   matter will promote judicial economy and eliminate the risk of inconsistent rulings. In addition,

14   these cases all arise out of the same nucleus of operative facts and, therefore, should be

15   consolidated in the interest of judicial economy. All parties in the Parallel Lawsuits have been

16   put on notice of this motion to consolidate.3

17                                      STATEMENT OF FACTS

18          The Parallel Lawsuits arise out of the same nucleus of facts and make overlapping legal

19   claims. Beginning in late 2021, First Fed issued a number of business loans to retail investors

20   who were led to believe that they were investing in both a legitimate franchise opportunity

21   and profitable business, Water Station (“WST”), that they could use to support themselves

22   and their families. In reality, it was all a lie. Unbeknownst to Plaintiffs at the time, they were

23   induced to borrow money from First Fed to invest under false pretenses and, by doing so, they

24          2
                Rhodes Dec., paragraph 8.
25          3
                Rhodes Dec., paragraph 9.



     MOTION TO CONSOLIDATE
     FIRST FED CASES – 3
 1   became the victims of a heartbreaking fraud. Upon information and belief, WST raised over

 2   $150 million through individual small business loans that it induced investors to obtain and

 3   collateralize with their personal assets. The underlying case is about First Fed’s failures to

 4   observe its standard underwriting responsibilities and failures to disclose information that

 5   would have been material to Plaintiffs’ decisions to transact with First Fed.4

 6          Under these fraudulently-induced agreements, First Fed’s bad faith continues to this

 7   day, and its ongoing demands that Plaintiffs repay the fraudulently induced loans at all costs.

 8   Defendants’ fraudulent scheme is the subject of each of the Parallel Lawsuits that Plaintiffs

 9   seek to consolidate. Each of the Parallel Lawsuits allege that the Defendants have failed to

10   perform their repayment obligations, leading to these lawsuits—each of which state claims for

11   breach of contract, among other similar claims involving fraudulently induced given to them

12   by First Fed.5

13          Undersigned counsel has provided notice of this motion to consolidate to all parties in

14   the Parallel Lawsuits, contemporaneously with the filing of the below motion.6

15                                       STATEMENT OF ISSUES

16          Should the Court order the Parallel Lawsuits be consolidated into the Sadek case

17   pursuant to CR 42 when all cases present common issues of law and fact and consolidation will

18   promote the interests of judicial economy and prevent the risk of inconsistent decisions?

19                                      EVIDENCE RELIED UPON

20          This motion is based on the concurrently filed Declaration of Michael K. Rhodes and

21   exhibits thereto, the records filed in the above-captioned lawsuit, and the records contained

22   within the Parallel Lawsuits.

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            4
                See Exhibit 1, to Rhodes declaration.
24          5
                Id.
25          6
                Rhodes Declaration, paragraph 5.



     MOTION TO CONSOLIDATE
     FIRST FED CASES – 4
 1                                            AUTHORITY

 2      A. This Court has Ample Authority to Consolidate Cases in the Interest of Judicial
           Economy and to Promote Justice.
 3
            CR 42 provides:
 4
            When actions involving a common question of law or fact are pending before
 5          the court, it may order a joint hearing or trial of any or all the matters in issue
            in the actions; it may order all the actions consolidated; and it may make such
 6          orders concerning proceedings therein as may tend to avoid unnecessary costs
            or delay.
 7
 8          This rule provides courts with significant discretion to consolidate cases where

 9   necessary to serve judicial economy, justice to the parties or both. See W.R. Grace & Co.--

10   Conn. v. State, Dep’t of Revenue, 137 Wn.2d 580, 590, 973 P.2d 1011, 1015 (1999) (affirming

11   consolidation); Angelo v. Angelo, 142 Wn. App. 622, 641, 175 P.3d 1096, 1105 (2008), as

12   amended (Jan. 29, 2008) (Consolidation may be appropriate where it will “simplify discovery

13   and improve efficiency.”).

14          Based on the liberal standard applied under Rule 42, consolidation of cases arising from

15   the same operative facts or events has become the norm, even when brought by different

16   plaintiffs against different defendants alleging different theories. See, e.g., Mariani v. United

17   Air Lines, Inc., No. 01 CIV-11628 (S.D.N.Y. July 24, 2002) (consolidating all actions

18   “currently pending or hereinafter filed” against any airline “for wrongful death, personal injury,

19   and property damage or business loss” resulting from or relating to September 11, 2001); In re

20   Air Crash Disaster, 549 F .2d 1006, 1013 (5th Cir. 1977) (approving of consolidation of cases

21   which “embraced more than 150 claims for death and injuries arising from the crash of a large

22   Eastern Airlines passenger plane,” noting that trial courts are “urged to make good use of Rule

23   42(a) . . . in order to expedite the trial and eliminate unnecessary repetition and confusion”);

24   see also Johnson v. Celotex Corp., 899 F .2d 1281, 1284 (2d Cir. 1990) (“Consolidation of tort

25   actions sharing common questions of law and fact is commonplace.”).



     MOTION TO CONSOLIDATE
     FIRST FED CASES – 5
         B. An Overwhelming Number of Common Questions of Law and Fact Clearly
 1          Warrant Consolidation.
 2
             Here, the above-captioned matter and the Parallel Lawsuits clearly involve common
 3
     questions of law and fact.
 4
             Common questions of fact abound because the investors in all cases allege that they
 5
     invested in WST’s apparent Ponzi scheme via the First Fed Bank after its failed underwriting
 6
     endeavors. There are too many common questions of fact to list in a single brief – but they
 7
     include and are not limited to: whether Plaintiffs (Defendants in the Parallel Suits) should be
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     required to repay the monies given to them by First Fed; whether Defendants engaged in unsafe
 9
     and deceptive banking practices; whether Plaintiff’s were induced to invest with small business
10
     loans under false pretenses and without knowing the extent of First Fed’s financial interest in
11
     WST; whether Defendants engaged in reckless underwriting and improper loan practices;
12
     whether Defendants had access to data that uncovered the Ponzi scheme of WST and when;
13
     whether Defendants substantially contributed to WST’s sale of unregistered securities to
14
     Plaintiffs.7
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             Similarly, common questions of law abound but include and are not limited to at least
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     the following: whether Defendants breached their contractual obligations to Plaintiffs and other
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     investors; whether Defendants’ offer and sale of purported “franchise opportunities” constituted
18
     the offer and sale of unregistered securities to Plaintiffs and other investors; whether Defendants
19
     made material misrepresentations to Plaintiffs and other investors; whether Defendants’
20
     conduct constitutes securities fraud; whether Defendants’ conduct constitutes common law
21
     fraud; whether Defendants’ conduct violated the Washington Consumer Protection Act;
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     whether Defendants should be held jointly and severally liable for Plaintiffs’ and other
23
     investors’ damages; whether and to what extent various real estate holdings should be used to
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25           7
                 Rhodes Dec., paragraph 10.



     MOTION TO CONSOLIDATE
     FIRST FED CASES – 6
 1   satisfy Plaintiffs and other investors’ claims and, if so, how should a limited pool of assets be

 2   distributed among Plaintiffs and other investors’ competing claims.8

 3      C. Consolidation will Promote the Efficient use of Party- and Judicial Resources
           and Eliminate the Risk of Inconsistent Decisions.
 4
            The inherent inefficiencies and burdens imposed on parties, witnesses, and judicial
 5
     resources, and the significant risks of inconsistent adjudications posed by cases presenting
 6
     similar questions of law and fact, are major factors warranting consolidation here. See, e.g., 9A
 7
     Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 23 83 (3d ed.
 8
     1998); Ultimate Timing, L. L. C. v. Simms, No. 08-CV-0 1632, 2010 WL 1881868, at *2 (W.D.
 9
     Wash. May 10, 2010).
10
            Requiring piecemeal adjudication of the same facts and the same legal issues in
11
     segregated cases is inherently inefficient. The duplication of effort and risks of unfairness will
12
     only multiply as these matters move into discovery and toward trial. Consolidation will
13
     eliminate the duplicative judicial work, prevent duplicative discovery and depositions, and
14
     avoid conflicting outcomes. See Bank of Montreal v. Eagle Associates, 117 F.R.D. 530, 533
15
     (S.D.N.Y. 1987) (“One of the primary objectives of consolidation is to prevent separate actions
16
     from producing conflicting results.”); see also Cornell, C20-1218-RSL-MLP, 2021 WL
17
     1663924, at *4 (considering judicial efficiency of resolving similar factual and legal issues in a
18
     consolidated action).
19
            Accordingly, Plaintiffs respectfully submit that the requirements for consolidation
20
     under CR 42 have been.
21
                                             CONCLUSION
22
            For the foregoing reasons, Plaintiffs respectfully request that the Court grant this motion
23
     and enter an order consolidating the Parallel Lawsuits with this matter.
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25          8
                Id, at paragraph 11.



     MOTION TO CONSOLIDATE
     FIRST FED CASES – 7
 1
         Dated this 9th day of September, 2024
 2

 3                                           MIX SANDERS THOMPSON, PLLC

 4                                           s/Michael K. Rhodes
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25                                           Counsel for Indiana Water



     MOTION TO CONSOLIDATE
     FIRST FED CASES – 8
                             Technology, LLC, BLC Water Company,
 1                           COLEWSTECH, LLC, RCWSTECH 1157,
 2                           LLC, Royal Reservoirs, LLC, Chaurishi
                             Retail Enterprises, LLC, Pacific Water
 3                           Technology, LLC, Kwansoo Lee, Brian
                             Chu, Larina Chu, David Schroeder, Sarah
 4                           Schroeder, Ron Cole, Karen Lavin, and
                             Basant Kumar
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     MOTION TO CONSOLIDATE
     FIRST FED CASES – 9
                                      CERTIFICATE OF SERVICE
 1
 2         I, Jennifer Knapp, certify that on September 9, 2024, I caused to be served a true and

 3   correct copy of the foregoing Motion to Consolidate First Fed Cases via the method

 4   indicated below and addressed to the following:
 5   Attorney for First Fed Parties                 Pro Hac Vice Attorney for Defendants
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14   LLC, Royal Reservoirs, LLC, Chaurishi
     Retail Enterprises, LLC, Pacific Water
15   Technology, LLC, Kwansoo Lee, Brian
     Chu, Larina Chu, David Schroeder, Sarah
16   Schroeder, Ron Cole, Karen Lavin, and
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23
24         I certify under penalty of perjury under the laws of the state of Washington that the
25   foregoing is true and correct.


     MOTION TO CONSOLIDATE
     FIRST FED CASES – 10
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     MOTION TO CONSOLIDATE
     FIRST FED CASES – 11
